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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

JUBILANT GENERICS LIMITED,  )
                            )
         Plaintiff          )
                            )
     v.                     )                     2:23-cv-00237-JCN
                            )
DECHRA VETERINARY PRODUCTS, )
LLC,                        )
                            )
         Defendant          )

            ORDER ON MOTION TO AMEND SCHEDULING ORDER

       Plaintiff seeks to modify the Scheduling Order to extend the deadline for the

amendment of pleadings and joinder of parties. (Motion to Amend Scheduling Order, ECF

No. 107.) Plaintiff maintains the extension is warranted to permit the parties’

representatives to complete discussions that might resolve the case before Plaintiff decides

whether to join additional defendants. Defendant opposes the motion citing the procedural

history of the case, which includes prior amendments to the deadline, the failure of Plaintiff

to identify the potential defendants, and the proximity of the requested deadline to the

discovery deadline as with the extension, Defendant would likely be unable to conduct

meaningful discovery without a delay in the conclusion of the case.

       The issue presented by Plaintiff’s motion is not whether to permit Plaintiff to join

additional defendants. Plaintiffs can at any time move to amend its complaint to join

additional defendants. The scheduling order deadline to amend and join parties informs

the standard the Court would apply when assessing whether to permit the amendment.
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       Federal Rule of Civil Procedure 15(a)(1) permits a litigant to amend a pleading “as

a matter of course” subject to certain time constraints. However, when a party seeks to

amend a complaint more than 21 days after the filing of a responsive pleading, the other

party’s consent or leave of court is required in order to amend the complaint. Fed. R. Civ.

P. 15(a)(2). In such a case, the court is to grant leave to amend “freely” when “justice so

requires.” Id.; see also Foman v. Davis, 371 U.S. 178, 182 (1962) (“In the absence of any

apparent or declared reason—such as undue delay, bad faith or dilatory motive on the part

of the movant, repeated failure to cure deficiencies by amendments previously allowed,

undue prejudice to the opposing party by virtue of allowance of the amendment, futility of

amendment, etc.—the leave sought should, as the rules require, be ‘freely given.’”).

       The standard is elevated when the motion to amend is filed after the court’s

scheduling order deadline for amendment of pleadings. A motion to amend that is filed

beyond the deadline established in a scheduling order requires an amendment of the

scheduling order. To obtain an amendment of the scheduling order, a party must

demonstrate good cause. Johnson v. Spencer Press of Maine, Inc., 211 F.R.D. 27, 30 (D.

Me. 2002); El–Hajj v. Fortis Benefits Ins. Co., 156 F. Supp. 2d 27, 34 (D. Me. 2001); Fed.

R. Civ. P. 16(b)(4). A court’s decision on good cause “focuses on the diligence (or lack

thereof) of the moving party more than it does on any prejudice to the party-opponent.”

Steir v. Girl Scouts of the USA, 383 F.3d 7, 12 (1st Cir. 2004). “Particularly disfavored are

motions to amend whose timing prejudices the opposing party by ‘requiring a re-opening

of discovery with additional costs, a significant postponement of the trial, and a likely

major alteration in trial tactics and strategy.’” Id. (quoting Acosta–Mestre v. Hilton Int’l of

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P.R., Inc., 156 F.3d 49, 52 (1st Cir. 1998)). Ultimately, it falls to the court’s discretion

whether to grant a motion to amend, and that discretion should be exercised based on the

particular facts and circumstances of the case. Id. Regardless of whether a motion to

amend the complaint is filed before or after the deadline, the Court would assess whether

the amendment would result in undue delay of the proceedings and prejudice to other

parties.

       Given the public policy encouraging settlement, see e.g., Fed. R. Evid. 408 advisory

committee’s note to 1972 amendment (grounds for rule excluding evidence of settlement

offers include the “promotion of the public policy favoring compromise and settlement of

disputes”), the Court finds Plaintiff’s reason for the extension—to permit the parties’

representatives to explore fully a possible resolution of the case—to constitute good cause

for the amendment. The Court emphasizes that by extending the deadline, the Court has

made no determination that any amendment of the complaint, whether to join additional

parties or to modify the allegations against Defendant, would be permitted. The Court will

assess the merit of any proposed amendment at the time it is requested.

       In accordance with the foregoing analysis, the Court grants in part Plaintiff’s motion

to amend the scheduling order. The Court extends the deadline for the amendment of

pleadings and joinder of parties to December 16, 2024.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

Dated this 15th day of November, 2024.




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